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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 5:20-cr-40-Oc-28PRL
JOSEPH SAMUEL CATALANO

 

ORDER

 

THIS CAUSE is before the Court on Defendant Joseph Samuel Catalano’s
Unopposed Motion as to Status of the Case and Notice of Unavailability (Doc. No. 45) filed
on November 17, 2020.

Upon consideration, IT IS ORDERED that Defendant Joseph Samuel Catalano’s
Unopposed Motion as to Status of the Case and Notice of Unavailability (Doc. No. 45) is
STRICKEN. Counsel can appear by telephone at the status conference. Counsel for
Defendant is directed to call 1-888-684-8852, access code 4135515 and security code

112020 at least 5 minutes prior to the start time of the hearing.
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DONE and ORDERED in Orlando, Florida on November _| &,

 

JOHNANTOON II ~~
United States District Judge

Copies furnished to:

United States Attorney
Counsel for Defendant

 
